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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 MICHAEL DONOGHUE and PREMIUM
 MORTGAGE CORPORATION,

                                            PLAINTIFF,
                                                                   NOTICE OF CROSS-MOTION
                             V.
                                                                        Civil Action No.:
 CYNTHIA NOSTRO, DYLAN RANDALL, DAVID
                                                                     20-cv-06100-EAW-MJP
 POPHAM AND EVERETT FINANCIAL, INC.
 D/B/A SUPREME LENDING,

                                          DEFENDANT.




       PLEASE TAKE NOTICE that upon the annexed Declaration and Affirmation of Good

Faith of Anna S. M. McCarthy, Esq. in Response to Plaintiffs’ Motion to Compel and in Support

of the Individual Defendants’ Cross-Motion to Compel, dated May 30, 2022, and supporting

Memorandum of Law, dated May 30, 2022, together with all exhibits thereto, Individual

Defendants Cynthia Nostro, Dylan Randall, and David Popham will cross-move this Court before

the Honorable Magistrate Judge Mark W. Pedersen, in the United States District Court, Western

District of New York, 100 State Street, Rochester, New York 14614, at a date, place, and time to

be determined by the Court for an Order pursuant to Rule 37(a) of the Federal Rules of Civil

Procedure, (a) compelling the Plaintiffs to provide complete responses to the Individual

Defendants’ requests for financial and performance-related information where such information is

relevant to the Plaintiffs’ specific claims of lost profits; (b) compelling Donoghue to submit any

electronic devices, which might have been used to communicate with or about the Individual

Defendants, for a forensic review, at the Plaintiffs’ expense; and (c) granting such other and further

relief as this Court deems just, equitable and proper.
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        PLEASE TAKE FURTHER NOTICE that pursuant to the Order of the Court, Plaintiffs’

 Response Papers, if any, shall be filed and served by July 1, 2022. The Individual Defendants

 Cynthia Nostro, Dylan Randall, and David Popham reserve the right to file and serve reply papers

 by July 15, 2022, in accordance with the Order of the Court.



  Dated: May 30, 2022
         Rochester, New York


                                                HARTER SECREST & EMERY LLP
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